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           16                       UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
           17
                    MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           18       a Delaware corporation; and
                    CERCACOR LABORATORIES, INC.,                  APPLE INC.’S NOTICE OF
           19       a Delaware corporation,                       OBJECTIONS TO PLAINTIFFS’
                                                                  PROPOSED SPECIAL MASTER
           20                          Plaintiffs,                CANDIDATE
           21             v.
                                                                  Judge:          Judge James V. Selna
           22       APPLE INC.,                                   Trial:          11/5/24
                    a California corporation,
           23
                                       Defendant.
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Wilmer Cutler            APPLE’S NOTICE OF OBJECTIONS TO PLAINTIFFS’ PROPOSED SPECIAL MASTER CANDIDATE
Pickering Hale
and Dorr LLP
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Wilmer Cutler             APPLE’S NOTICE OF OBJECTIONS TO PLAINTIFFS’ PROPOSED SPECIAL MASTER CANDIDATE
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and Dorr LLP                                    CASE NO. 8:20-cv-00048-JVS (JDEX)
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                 1         Pursuant to the Court’s instruction at the September 9, 2024 hearing, Apple
                 2   identifies the following conflicts regarding Michael Hawes, Plaintiffs’ candidate for
                 3   special master. See Dkt. 2049, 2049-3.
                 4         Mr. Hawes represented Qualcomm in proceedings adverse to Apple before the
                 5   Federal Circuit and the Supreme Court during the pendency of this case. Mr. Hawes
                 6   argued on behalf of Qualcomm before the Federal Circuit and was counsel of record for
                 7   Qualcomm in opposing Apple’s petition for writ of certiorari to the Supreme Court. See
                 8   Frazier Decl. ¶ 3 (Ex. J (Apple Inc. v. Qualcomm Inc., Nos. 2020-1561, 2020-1642 (Fed.
                 9   Cir.)); id. ¶ 4 (Ex. K (Apple Inc. v. Qualcomm Inc., No. 21-746 (U.S.)). For at least this
            10       reason, Apple opposes Mr. Hawes serving as a special master in this case. Fed. R. Civ.
            11       P. 53(a)(2) (“A master must not have a relationship to the parties, attorneys, action, or
            12       court that would require disqualification of a judge under 28 U.S.C. §455…”); 28 U.S.C.
            13       § 455 (disqualification appropriate where “impartiality might reasonably be
            14       questioned”).
            15             Apple respectfully requests that the Court order the parties to inquire whether
            16       either of Apple’s proposed candidates Karl Bayer or Peter Vogel (Dkt. 2048) is
            17       available. Alternatively, as discussed during the July 22, 2024 and September 9, 2024
            18       hearings, Apple is confident in the Court’s ability to determine for itself whether
            19       Plaintiffs’ July 5, 2024 contentions introduced new theories and is happy to submit the
            20       dispute directly to the Court in whatever format would be most useful.
            21                                                Respectfully submitted,
            22
                      Dated: September 10, 2024               By: /s/ Mark D. Selwyn
            23                                                    Mark D. Selwyn
            24                                                    Joshua H. Lerner
                                                                  Nora Passamaneck
            25                                                    WILMER CUTLER PICKERING
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            28
Wilmer Cutler
Pickering Hale
and Dorr LLP              APPLE’S NOTICE OF OBJECTIONS TO PLAINTIFFS’ PROPOSED SPECIAL MASTER CANDIDATE
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Wilmer Cutler
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                                                             2              CASE NO. 8:20-cv-00048-JVS (JDEX)
